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     Case 2:21-cv-06986-GW-JEM Document 26 Filed 11/22/21 Page 2 of 2 Page ID #:103




 1
            (b) Defendant KRIS KRISTOFFERSON and any individual or entity acting
 2
               for or on behalf of him are hereby enjoined from copying, storing, posting,
 3
               or displaying the photograph bearing U.S. Copyright Registration No.
 4
               VA0002146260 (the “Photograph”).
 5
 6            November 22, 2021
      Dated: ________________________

 7
 8                                                CLERK OF COURT

 9
10                                                 /s/ Javier Gonzalez
                                                  ________________________
                                                  Deputy Clerk
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